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8                            UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   SAMUEAL KOONTZ, et al.                              Case No.: 3:18-cv-2482-L-JLB
12                                     Plaintiffs,
                                                         ORDER GRANTING JOINT
13   v.                                                  MOTION TO EXTEND TIME TO
                                                         RESPOND [ECF No. 10]
14   SAN DIEGO GAS & ELECTRIC CO., et
     al,
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                                     Defendants.
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           Pending before the Court is the parties’ joint motion for extension of time to respond
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     to plaintiff’s complaint filed by defendant Kinder Morgan G.P., Inc. [ECF No. 10]. The
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     Court finds that good cause exists to extend defendant’s deadline to answer thirty (30) days.
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     As such, the joint motion is GRANTED. The time for defendant to answer or otherwise
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     respond to plaintiff’s complaint is extended to and including January 3, 2019.
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           IT IS SO ORDERED.
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     Dated: December 3, 2018
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